Case 1:22-cv-01146-MN         Document 594         Filed 01/15/25      Page 1 of 6 PageID #: 37136




                     IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF DELAWARE

  ARM LTD.,
                         Plaintiff,
                                                      C.A. No. 22-1146-MN
                        v.
  QUALCOMM INC., QUALCOMM
  TECHNOLOGIES, INC. and NUVIA, INC.,

                         Defendants.

                                      JOINT STATUS REPORT

        The parties provide the following status report following the jury verdict returned on

 December 20, 2024 (D.I. 572) and the bench trial on certain of Defendants’ equitable defenses:

 1.     Judgment

        The parties have submitted competing proposed partial judgments based on the jury’s

 answers to Questions 2 and 3 of the verdict form.

 2.     Post-Trial Motions

        Plaintiff currently plans to file the following post-trial motions:

        •   Motions for a new trial and renewed motion for judgment as a matter of law on Count

            I of Arm’s Complaint as to Nuvia, Inc. (Question 1 on the verdict form) and motions

            for a new trial and renewed motion for judgment as a matter of law on Count I of Arm’s

            Complaint as to Qualcomm Inc. and Qualcomm Technologies, Inc. (Question 2 of the

            verdict form) and on Count I of Defendants’ Answer and Second Amended

            Counterclaims (Question 3 of the verdict form).




                                                  1
Case 1:22-cv-01146-MN        Document 594         Filed 01/15/25      Page 2 of 6 PageID #: 37137




        Defendants intend to file the following post-trial motion:

        •   Renewed motion for judgment as a matter of law with respect to Nuvia, Inc., on Count

            I of Arm’s Complaint. 1

 3.     Jury Trial – Deadlines and Page Limitations for Post-Trial Motions

        •   Each side shall be limited to a total of 20 pages for its opening brief in support of all

            post-trial motions, regardless of how many such motions it files. Each side will be

            limited to 20 pages for its answering brief and 10 pages for its reply brief relating to

            any post-trial motions filed by either side, regardless of how many such motions are

            filed.

        •   The parties agree:

            o Renewed motions for judgment as a matter of law regarding Count I of the

                Complaint as to Nuvia, Inc., and any opening brief in support of such motions, shall

                be filed no later than January 17, 2025. Any answering brief shall be filed no later

                than February 14, 2025. Any reply brief shall be filed no later than February 28,

                2025.

            o Arm’s motions for a new trial and renewed motion for judgment as a matter of law

                on Count I of Arm’s Complaint as to Qualcomm Inc. and Qualcomm Technologies,

                Inc. and on Count I of Defendants’ Answer and Second Amended Counterclaims,

                and an opening brief in support of those motions, shall be filed within 28 days after

                the date of the Court’s entry of partial judgment. Any answering brief shall be filed




 1
   Qualcomm objects to Arm’s characterization of the verdict form to the extent it suggests that the
 jury’s answer to Question 3 is relevant only to Qualcomm’s claim for declaratory judgment and
 not to Qualcomm’s liability for alleged breach of the Nuvia ALA. See D.I. 300, ¶ 145.


                                                  2
Case 1:22-cv-01146-MN          Document 594        Filed 01/15/25      Page 3 of 6 PageID #: 37138




                 within 28 days after the filing of the opening brief. Any reply brief shall be filed

                 within fourteen 14 days after the filing of the answering brief.

      •   The parties dispute the timing with respect to any motion for a new trial regarding Count I

          of the Complaint as to Nuvia, Inc.

              o Nuvia’s position is that any such motion, and any opening brief in support of such

                 a motion, shall be filed no later than January 17, 2025. Any answering brief shall

                 be filed no later than February 14, 2025. Any reply brief shall be filed no later than

                 February 28, 2025.

              o Arm’s position is that any such motion, and any opening brief in support of such

                 a motion, shall be filed within 28 days after the date of the Court’s entry of partial

                 judgment. Any answering brief shall be filed within 28 days after the filing of the

                 opening brief. Any reply brief shall be filed within fourteen 14 days after the filing

                 of the answering brief.

 4.       Bench Trial - Findings of Fact and Post-Trial Briefing

          •   The aforementioned deadlines do not apply to the submission of proposed findings of

              fact and post-trial briefing regarding Defendants’ equitable defenses, which were tried

              to the bench.

          •   With respect to those defenses:

              o Defendants’ position is that the Court’s entry of partial judgment for Qualcomm

                 will moot those defenses with respect to Qualcomm, but that those defenses will

                 remain live with respect to Nuvia. Defendants propose that the Court defer

                 resolution of those defenses with respect to Nuvia until after resolution of the




                                                   3
Case 1:22-cv-01146-MN        Document 594        Filed 01/15/25       Page 4 of 6 PageID #: 37139




              parties’ other post-trial motions and, if a new trial is granted, after completion of

              that trial.

           o Defendants submit that, if the Court concludes that proposed findings of fact and

              post-trial briefing should be submitted to the Court now:

                      Nuvia’s proposed findings of fact and post-trial brief shall be filed within

                       28 days after the date of the Court’s entry of partial final judgment. Nuvia

                       will be limited to 10 pages for its proposed findings of fact and 10 pages for

                       its conclusions of law.

                      Arm’s response to Nuvia’s proposed findings of fact and post-trial brief will

                       be due with 28 days thereafter. Arm will be limited to 10 pages for its

                       response to Nuvia’s proposed findings of fact and 10 pages for its

                       conclusions of law.

                      Nuvia’s reply to Arm’s post-trial brief will be due within 14 days thereafter

                       and will be limited to 5 pages. No further submissions of proposed finding

                       of fact may be submitted with Nuvia’s reply.

           o Arm’s position: Arm agrees that those defenses will be moot as to Qualcomm upon

              entry of judgment, and the Court should defer consideration of those defenses as to

              Nuvia until after resolution of the parties’ other post-trial motions and, if a new trial

              is granted, after completion of that new trial.

 5.    Mediation

       The parties are exploring options for further mediation consistent with the Court’s guidance

 on December 20, 2024.




                                                 4
Case 1:22-cv-01146-MN     Document 594   Filed 01/15/25     Page 5 of 6 PageID #: 37140




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                                         5
Case 1:22-cv-01146-MN        Document 594     Filed 01/15/25      Page 6 of 6 PageID #: 37141




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   Dated: January 15, 2025                        Qualcomm Technologies, Inc., and Nuvia,
                                                  Inc.


                IT IS SO ORDERED this ___ day of ________, 2025.


                                            ______________________________
                                            The Honorable Maryellen Noreika
                                            United States District Judge




                                              6
